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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 1:21-cr-382 (PLF)
                                            :
CHRISTOPHER WARNAGIRIS,                     :
                                            :
                      Defendant.            :

                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                   SUPPLEMENTAL MOTION FOR BRADY MATERIAL

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully opposes the defendant’s supplemental motion for Brady material. The

defendant’s motion is based on a fundamental misunderstanding of the law, specifically a belief

that “[t]he Government has a duty to learn what their agents, the individuals operating the face-

trace tools, can provide about” a police officer witness. ECF No. 80 at 2 (emphasis

added). Unsurprisingly, the defendant cites no case law or statute to support this claim because

none exists. The government has no such duty to conduct investigation; the government is only

obligated—by Fed. R. Crim. P. 16 and Brady—to turn over to the defendant materials in its

possession. See ECF No. 73 (discussing the legal standard for the government’s discovery

obligations). The government has already done so.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052


                                     By:    /s/ REBEKAH LEDERER
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